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 CIVIL COURT OF THE CITY OF NEW YORK
 _______________________________________
 COUNTY OF NEW YORK: HOUSING PART C

 MARINERS COVE SITE B
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                                                _
                                       ASSOCIATES,
                                                            __X
                                                                       Index No. L&T 63974114
                      Petitioner,
                                                                       AFFIDAVIT IN
          -




              against-                                                 SUPPORT OF MOTION
DR. STEVEN GREER
200 RECTOR PLACE
APARTMENT 35F
NEW YORK, NEW YORK 10280

                   Respondent
____________________
                   ______________________________________   __X
STATE         OF NEW        YORK       )
                                       )SS.:
COUNTY OF NEW YORK                     )


                     Michael Healy, being duly sworn, deposes and says:

                      1.        I am employed as a security       supervisor by Spartan Security Services
                 a   company which provides security services to, among others, real estate
                                                                                            properties.
In February 12, 2014 including, but not limited to February 12, 2014, the day
                                                                              in question discussed
hereinbelow, I was assigned by Spartan to work a security detail for Milford Management Corp.
                at 99 Battery       Place, New York, New York 10280.

                     2.         At approximately 3:00 pm. on February 12, 2014, Dr. Steven Greer

                           walked into Milford’s   management     office located   at 99 Battery Place and

attempted to walk past the receptionist located in the waiting area immediately inside the front

door.

                     3.        I called out to Respondent and asked     if I could speak with him outside.
Respondent did        so on his own    volition.

                     4.        Once we were outside, I introduced myself and identified the company for
which I was employed.




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                        5.             I proceeded to explain to Respondent
                                                                            that he was         violating the provisions of
 New York State's Penal Law pertaining to
                                          ltamssment and
                       6.          At this point,     Respondent became     aggressive and      began    to    use profanities.
 Respondent then started                to   record our %:onversntion" on video.

                                   l   explained to Respondent that, if he did     not   leave, I would call the police
and have him arrested. Respondent
                                  tltcn [eh nnd                   l   ndvised Milford    to   file It police    report ugxinst
Respondent for hamssnxcnt.


                                                                                     M        mel Healy




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